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                        UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                              ATLANTA DIVISION


GLENFORD KENNARD HYATT,                         )
                                                )
                                                )
                        Plaintiff,              )
v.                                              ) CASE NO. 1:21-CV-0221
                                                )
                                                )
M&T BANK,                                       )
                                                )
                                                )
                        Defendant.              )

DEFENDANTS M&T BANK AND LAKEVIEW LOAN SERVICING, LLC’S
  MOTION TO DISMISS AMENDED COMPLAINT WITH PREJUDICE
          COME NOW Defendants M&T Bank (“M&T”) and Lakeview Loan

Servicing, LLC (“Lakeview”) (collectively, “Defendants”), by and through their

undersigned counsel, and pursuant to Rule 12 of the Federal Rules of Civil

Procedure, hereby move this Court to dismiss all claims asserted by Plaintiff

Glenford Kennard Hyatt (“Plaintiff”) against Defendants in the Amended

Complaint, (Doc. 9). In support of their motion, Defendants state as follows:

          1.      Plaintiff’s Amended Complaint fails to give Defendants sufficient

notice of the claims asserted against them, and, as such, is due to be dismissed as an

improper shotgun pleading.

          2.      Additionally, Plaintiff’s claims fail substantively, as they fail to state

claims upon which relief can be granted for negligent mortgage servicing or for

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violations of the Truth in Lending Act (“TILA”), the Fair Credit Reporting Act

(“FCRA”), or the Fair Debt Collection Practices Act (“FDCPA”).

          3.      As such, the Amended Complaint is due to be dismissed pursuant to

Fed. R. Civ. P. 12(b)(6).

          4.      In support of their Motion, Defendants rely on the pleadings and their

Memorandum of Law filed in support of this Motion.

          WHEREFORE, for the reasons stated herein and in Defendants’

Memorandum of Law in Support, Defendants respectfully request that this Court

grant their Motion to Dismiss and dismiss Plaintiff’s Amended Complaint with

prejudice.

          Respectfully submitted, this 8th day of March, 2021.



                                           /s/ Rachel R. Friedman
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                          CERTIFICATION OF COUNSEL
      I hereby certify that the foregoing document has been prepared with Times
New Roman, 14 point font, one of the font and point selections approved by the
Court in LR 5.1C.



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                            CERTIFICATE OF SERVICE
       I hereby certify that on March 8, 2021, the foregoing document was mailed
via First Class U.S. Mail, postage prepaid, to the following:

     Glenford Kennard Hyatt
     4480 S. Cobb Drive
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     Smyrna, GA 30080



                                         /s/ Rachel R. Friedman
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